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                    UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION



 STEPHANIE LEIGH WHITAKER,                  )       CIVIL COMPLAINT
 et al.                                     )
                                            )       Case No. 1:18-cv-00540-WOB
        Plaintiffs,                         )
                                            )
 v.                                         )
                                            )
 JUDGE JOSEPH W. KIRBY,                     )       JUDGE WILLIAM O. BERTELSMAN
                                            )
       Defendant.                           )

      MOTION FOR SPEEDY TRIAL OF DECLARATORY JUDGMENT ACTION

       Pursuant to Fed. R. Civ. P. 57, Plaintiffs respectfully request that this Court set a

speedy trial in this declaratory judgment action, as Plaintiffs may suffer irreparable harm

if the relief sought in this action is not obtained on an expedited basis. This Court

previously granted Plaintiff’s motion to expedite, but a trial date has not yet been set.

Doc. 12, PAGEID #: 90. Therefore, Plaintiffs respectfully request that this Court schedule

an evidentiary hearing and bench trial to take place within 21 days after Defendant files

his Reply in Support of Defendant’s Motion to Dismiss.

       Plaintiffs further request that the Court either deny Defendants’ motion to dismiss

on the papers in advance of the speedy trial, or alternatively, move to defer any hearing

on that motion until the time of the speedy trial pursuant to Fed. R. Civ. P. 12(i). See also

Serras v. First Tennessee Bank National Association, 875 F.2d 1212, 1213, 1216 (6th Cir.1989);

Sterling v. Velsicol Chem. Corp., 855 F.2d 1188, 1195 (6th Cir. 1988). Scheduling a separate

preliminary hearing on Defendant’s motion to dismiss would serve only to delay a


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hearing on the merits in this matter, exposing Plaintiffs to further risk of serious and

irreparable harm. This Motion is supported by the Declaration of Linda Hawkins, PhD,

MSEd, LPC (“Hawkins Decl.”).

       Federal Rule of Civil Procedure 57 provides that this Court “may order a speedy

hearing of a declaratory-judgment action.” See also United States v. Stein, 452 F.Supp.2d

230, 270 (S.D.N.Y. 2006). Plaintiffs will suffer irreparable harm without a prompt hearing

or trial. Unlike in most Section 1983 cases, preliminary injunctive relief is not available

in this action, so a speedy trial is the only procedure available to prevent or mitigate those

serious harms. Linda Hawkins, the founder and co-director of the Gender and Sexuality

Development Clinic at the Children’s Hospital of Philadelphia, has provided medical

care for more than 1,000 transgender patients and testified that Plaintiffs may suffer

significant harm if forced to delay the resolution of this matter. She states in her

Declaration:

               Obtaining legal recognition of a young person’s new name is a
               critical part of social transition. A recent study found that permitting
               transgender youth to adopt a new name that reflects their gender
               identity substantially reduces their risk of depression and
               suicidality.

               ...

               Being able to control when and whether to disclose one’s
               transgender status is crucial for the safety, health and wellbeing of
               transgender youth. Having identity documents that match who they
               are affords transgender youth the ability to make those important
               and personal decisions.




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Hawkins Decl. ¶ 12 (citing Stephen Russell, et al., Chosen Name Use Is Linked to Reduced

Depressive Symptoms, Suicidal Ideation, and Suicidal Behavior Among Transgender Youth,

Journal of Adolescent Health (2018)); ¶ 23.

      A legal name change is essential to the social transition process because “the longer

a transgender minor must wait to obtain a legal name change, the greater the

psychological and social harm that is likely to result.” Hawkins Decl. ¶22. Obtaining a

legal name change is necessary for transgender people to obtain passports that reflect

their gender identity and to apply for colleges and universities, including financial aid

applications, without having to suffer the embarrassment, invasion of privacy and risk of

potential discrimination caused by having a legal name that does not reflect the minor’s

actual identity. Hawkins Decl. ¶ 17. Hawkins further stated that it is “psychologically

damaging for a transgender youth to be treated differently than other youth when

seeking a legal name change,” especially when “the validity of their gender identity is

questioned by an adult in a position of authority.” Hawkins Decl. ¶ 21.

      The harm to John Doe is particularly time-sensitive as he is preparing to apply to

college, application deadlines begin on November 1, 2018. Absent a resolution of this

matter, Defendant’s discriminatory treatment of name change applications filed on behalf

of transgender minors will force John Doe to reveal his transgender status on his

applications and deny John the opportunity to attend a college or university where other

do not know his transgender status.       Either circumstance exposes him to further

discrimination and psychological harm.



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       Further, Plaintiffs are not aware of any disputed issues of fact of the sort that

require extensive discovery or evidentiary development, and a speedy trial will terminate

the controversy between the parties.

                                     CONCLUSION

       For these reasons, Plaintiffs respectfully request that the Court hold a trial to take

place within 21 days after the Defendant files his Reply in Support of Defendant’s Motion

to Dismiss.

       Plaintiffs further request that the Court either deny on Defendant’s pending

motion to dismiss in advance of the trial without scheduling a separate hearing, or

alternatively, have a consolidated hearing on that motion with the trial on the merits.

Scheduling a separate preliminary hearing on Defendant’s motion to dismiss would

serve only to delay a hearing on the merits in this matter, exposing Plaintiffs to further

risk of serious and irreparable harm.


                                                  Respectfully submitted,


                                                   /s/ Joshua R Langdon
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                                                Attorneys for Plaintiffs


                                                * pro hac vice pending


                             CERTIFICATE OF SERVICE

        I, Joshua Langdon, Esq., do hereby certify that on this 11th day of September,
2018, I caused true and correct copies of the foregoing to be filed via the Court’s
CM/ECF system, causing service on all counsel of record.

                                                /s/ Joshua R Langdon




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